               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:13 CR 79-10


UNITED STATES OF AMERICA,                    )
                                             )
Vs.                                          )            ORDER
                                             )
JOHN LOUIS PIVONKA,                          )
                                             )
                 Defendant.                  )
____________________________________         )


        THIS CAUSE coming on to be heard before the undersigned upon a

Violation Report (#102) filed in the above entitled cause on February 11, 2014 by

the United States Probation Office alleging that Defendant had violated terms and

conditions of his pretrial release. At the call of this matter on for hearing it

appeared the Defendant was present with his counsel, Attorney Rodney Hasty, and

the Government was present through Assistant United States Attorney, Richard

Edwards. From the evidence offered and from the statements of the Assistant

United States Attorney and the attorney for the Defendant, and the records in this

cause, the Court makes the following findings.

        Findings:   At the call of the matter, the Defendant, denied the allegations

contained in the Violation Report.        Testimony was then presented by the

Government through Jason Grindstaff, Detective with the McDowell County,

North Carolina Sheriff’s Office.



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        The Defendant was charged in a bill of indictment filed on December 3,

2013 with one count of conspiracy to distribute methamphetamine, in violation of

21 U.S.C. § 841(a)(1) and 846 and three counts of possession of methamphetamine

with intent to distribute, in violation of 21 U.S.C. § 841(a)(1). Defendant was

arrested on December 11, 2013 and detained until January 15, 2014. On that date,

the undersigned entered an order releasing Defendant on a $25,000 unsecured

bond.    The undersigned further set conditions of release which included the

following:

        (1)   That the defendant shall not commit any offense in violation of

              federal, state or local law while on release in this case.

        On Sunday, January 26, 2014, Defendant was stopped by a McDowell

County, NC Deputy. The Deputy noticed that Defendant was operating a vehicle

which was pulling a camper which did not have appropriate tag or registration.

The Deputy contacted Detective Jason Grindstaff who then interviewed Defendant.

The Defendant told Det. Grindstaff that while he had been detained as a result of

the orders of this Court, an acquaintance of Defendant had stolen items of property

from Defendant’s home. Defendant further advised that he had gone to where his

property was located, which was on the property of Matthew Grindstaff, and had

obtained his property. The Defendant told Det. Grindstaff he had taken a camper


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because he had been given authority to do so by the owner. When Det. Grindstaff

interviewed Matthew Grindstaff, Matthew Grindstaff advised Det. Grindstaff that

he owned the camper and he had not given permission for the Defendant to go

upon his property. Det. Grindstaff further testified that he had made efforts to get

in touch with the alleged owner of the camper, Roger McMahan, but Mr.

McMahan could not be located. After an investigation, charges were brought

against Defendant in McDowell County on February 7, 2014 for felony larceny

and felony breaking & entering.

       Discussion. 18 U.S.C. § 3148(b)(1) provides as follows: The judicial officer

shall enter an order of revocation and detention if, after a hearing, the judicial

officer -----

       (1)    finds that there is----
              (A) probable cause to believe that the person has committed a
       Federal, State, or local crime while on release; or
              (B) clear and convincing evidence that the person has violated any
        other condition of release; and
       (2) finds that ---
              (A) based on the factors set forth in section 3142(g) of this title, there
       is no condition or combination of conditions of release that will assure that
       the person will not flee or pose a danger to the safety of any other person or
       the community; or
              (B) the person is unlikely to abide by any condition or combination
       of conditions of release.

      If there is probable cause to believe that, while on release, the person
committed a Federal, State, or local felony, a rebuttable presumption arises that no
condition or combination of conditions will assure that the person will not pose a

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danger to the safety of any other person or the community.”


      Based upon the evidence, the undersigned cannot find there is probable

cause to believe Defendant committed either a federal or state felony. There is

some reason to believe that Defendant may have committed a state crime of

misdemeanor larceny. However, it appears that property of the Defendant had

been stolen by Matthew Grindstaff while Defendant was incarcerated and the

Defendant, rather than seeking assistance from law enforcement or filing a civil

action against Matthew Grindstaff, decided to conduct claim and delivery of

Defendant’s property that was located on property under the control of Matthew

Grindstaff.

      Due to the findings made above, it appears that there are conditions or

combination of conditions of release that would assure that Defendant would not

pose a danger to the safety of any other person or the community. It is further the

opinion of the undersigned that based upon the testimony of Det. Jason Grindstaff,

that it is likely the Defendant will abide by conditions or a combination of

conditions of release. As a result, the undersigned will dismiss the allegations

contained in the Violation Report, but will modify the terms and conditions of

release of Defendant to insure that while Defendant is released, he cannot commit

any further criminal acts.

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                                 ORDER

     IT IS, THEREFORE, ORDERED that the allegations contained in the

Violation Report (#102) are hereby DISMISSED.



                                         Signed: February 24, 2014




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